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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :        Case No. 3:06cr00268 (PCD)
                                             :
BENIGNO MALAVE                               :

    ORDER ON MOTION FOR RETROACTIVE APPLICATION OF SENTENCING
                           GUIDELINES

       The Defendant, Benigno Malave, moves for Retroactive Application of Sentencing

Guidelines to Crack Cocaine Offense in accordance with 18 USC § 3582 [Doc. No. 1433] and

for Hearing on this Motion [Doc. No. 1434]. For the reasons stated herein, Defendant’s motions

are denied.

       Defendant moves for a reduction of sentence pursuant to 18 USC § 3582(c)(2) and seeks

the benefit of the currently pending Fairness in Cocaine Sentencing Act, applying a 1 to 1 crack

cocaine and powder cocaine guidelines ratio. However, following an appeal, Defendant was

resentenced on April 25, 2008. At resentencing Defendant’s term of imprisonment was reduced

from 144 to 120 months and the November 1, 2007 guideline amendments were considered.

Therefore, he was not “sentenced based on a sentencing range that has subsequently been

lowered” and18 USC § 3582(c)(2) affords no further relief. Furthermore, as the Fairness in

Cocaine Sentencing Act has not been passed by Congress, it provides no basis for the relief

Defendant seeks.

       SO ORDERED.

                                                 Dated at New Haven, Connecticut, March 5, 2010.


                                                     /s/___________________________________
                                                              Peter C. Dorsey, U.S. District Judge
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